      Case 4:24-cv-00181-WMR      Document 66     Filed 01/29/25   Page 1 of 1




              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                         ROME DIVISION

MELANIE HOGAN SLUDER and
RICKY SHAWN CURTIS, Individually
and as Independent Administrators
of the ESTATE OF ALEXIS MARIE
SLUDER, Deceased,
                                                    Civil Action File No.
                   Plaintiffs,                      4:24-CV-00181-WMR
      vs.

REBECKA PHILLIPS, MAVEIS
BROOKS, RUSSELL BALLARD,
DAVID MCKINNEY, MONICA
HEADRICK, SHARON ELLIS, and
GILMER COUNTY (A MUNICIPAL
CORPORATION),

                   Defendants.

                  CERTIFCATE OF SERVICE OF DISCOVERY

      This certifies pursuant to Fed. R. Civ. P. 5 that I have served a copy of

Defendant David McKinney’s Objections and Responses to Plaintiffs’ First

Interrogatories and Requests for Production on all counsel of record by serving same

using electronic mail at the email address that each respective counsel has on record

with the Court.

      This 29th day of January, 2025.
                                             GANNAM GNANN & STEINMETZ LLC

                                             /s/ Garrett R. Greiner
Post Office Box 10085                        GARRETT R. GREINER
Savannah, Georgia 31412                      Georgia State Bar No. 874451
(912) 232-1192
ggreiner@ggsattorneys.com                    Attorney for Def. David McKinney
